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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MONTANA
                           GREAT FALLS DIVISION

 STEVE BULLOCK, in his official
 capacity as Governor of Montana,
                                             CV-20-79-GF-BMM
 Plaintiff,
 v.
 UNITED STATES POSTAL                                  AMENDED ORDER
 SERVICE; and LOUIS DEJOY, in his
 official capacity as Postmaster General
 Defendants.


      Amicus Curiae Members of Congress (Amicus) have moved for an order

allowing Elizabeth B. Wydra, Esq., and Dayna J. Zolle, Esq. to appear pro hac vice

in this case with James Molloy, Esq., designated as local counsel. The applications

of Ms. Wydra and Ms. Zolle appear to be in compliance with L.R. 83.1(d).

      IT IS ORDERED:

      Amicus’ motions to allow Ms. Wydra and Ms. Zolle to appear on their

behalf (Docs. 13 and 14) are GRANTED, subject to the following conditions:

      1.      Local counsel shall exercise the responsibilities required by L.R.

83.1(d)(5) and must be designated as lead counsel or as co-lead counsel;

      2.      Only one attorney appearing pro hac vice may act as co-lead counsel;
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         3.      Ms. Wydra and Ms. Zolle must each do their own work. Each must do

their own writing, sign their own pleadings, motions, briefs, and, if designated co-

lead counsel, must appear and participate personally in all proceedings before the

Court;

         4.      Local counsel shall also sign all such pleadings, motions and briefs

and other documents served or filed; and

         5.      Admission is personal to Ms. Wydra and Ms. Zolle.

         IT IS FURTHER ORDERED:

         Each applicant shall file, within fifteen (15) days from the date of this Order,

an acknowledgment and acceptance of their admission under the terms set

forth above.

         DATED this 25th day of September, 2020.




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